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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION

Cheryl Compton, et al., )
) No. 411 l-cv-Ol975-CEJ

)

Plaintiffs, )

)

vs. )

)

)

St. Louis Metropolitan Police Department, )

et al., )

)

Defendants. )

PLAINTIFFS' SUGGESTIONS IN SUPPORT OF THEIR CLAIM FOR
INJU_NC'IM

Injunctive relief is “an equitable remedy shaped to right an ongoing wrong.” w
v. Kohl v. Woodhaven Learning Cntr., 865 F.2d 930, 934 (S‘h Cir. 1989). Injunctive
relief will be granted upon consideration of the following factors: (l) the threat of
irreparable harm to the movant; (2) the state of balance between the harm and the injury
that granting the injunction will inflict on other parties litigant; (3) the probability that
movant will succeed on the merits; and (4) the public interest. Dataphase Systems, Inc. v.
C.L. Systems, 640 F.2d l()9, 1994 (S‘h Cir. 1981) (en banc).

In this case, consideration of these factors compels immediate, preliminary and
permanent injunctive relief. Plaintiff has no adequate remedy at law. Plaintiffs have
suffered and will continue to suffer irreparable harm if not allowed to exercise their
freedom of speech. The balance of interests demonstrates that the harm to Plaintiffs from
the chilling effect on free speech outweighs any injury that this injunction would inflict
on Defendants. There is a high probability that Plaintiff will succeed on the merits, and a

preliminary injunction will serve the public interest.

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A. Iniunctive Relief Is ProDer Because Plaintiffs Suffer and Will
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Injunctive relief is proper where Plaintiff suffers irreparable harm. Dataphase,
M Here, Defendants have previously deprived Plaintiffs from exercising their rights
to free speech protected by the First and Fourteenth Amendments of the United States
Constitution and Art. I, Section 8 of the Missouri Constitution, by threatening to evict
them from Keiner Plaza by threatening arrest for violation of the curfew and structures
ordiance, and by actually forcibly arresting them for violating the curfew ordinance By
chilling dissenting speech and preventing the speakers from being heard, Defendants
have caused irreparable harm to Plaintiffs and will continue to do so in the future, unless
enjoined from doing so.

Violation of Constitutional rights per se creates irreparable harm warranting
injunctive relief. Any loss of First Amendment liberties, even briefly, “unquestionably
constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976). The Supreme
Court has long “recognized that the First Amendment reflects 'a profound national
commitment' to the principle that 'debate on public issues should be uninhibited, robust,
and wide-open,"’ Boos, 485 U.S. at 318 (quoting Sullz'van, 376 U.S. 254.) Plaintiffs have
a right to demonstrate and air their views, and each and every violation of this right
creates injury that cannot be repaired. The harm here is immediate - its impact exists right
now and will continue into the future, and is irreparable

B. The Balance of Harms Clearlv Favors Iniunctive Relief.

A preliminary injunction is proper where the balance of harms favors such relief.
Dataphase, supraL Here, the Defendants will not suffer substantial harm from allowing

Plaintiffs to peacefully occupy and protest at Keiner Plaza, while the chilling effect of

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Plaintiffs deprivation of their ability to air their views is irreparable, and can not be
overridden by the government's interest in preventing inconvenience or unrest. “Public
inconvenience, annoyance or even unrest can never justify a curtailment of speech in a
public forum.” Irish Subcomrnz`ttee of Rhode Island Herz`tage Com’n v. Rhode Island
Herz`tage Corn’n, 646 F.Supp. 347, 355 (D.R.l. 1986). While the Defendants' interest in
protecting Keiner Plaza “undoubtedly a significant government interest,” that interest
would be more compelling if it had been exercised on day one of the occupation, not day
forty-two. Moreover, allowing Plaintiffs' peaceful occupation does not conflict with the
government‘s interests in promoting safety, security and convenience The effect of this
injunction will serve only to allow peaceful demonstrators to attend and participate,
consistent with the First Amendment; it will not prevent Defendants from taking
appropriate measures to address legitimate harms such as violence Accordingly, the
balance of interests clearly favors the plaintiff s right to be free from unconstitutional
restriction on their rights to free speech.

C. There Is A HiQh Probabilitv of Success on the Merits.

A preliminary injunction is proper where there is a high probability of success on
the merits. Dalaphase, Supra; The facts here demonstrate that Defendants actions
restricting freedom of speech by removing them from Keiner Plaza by arrest, and the
threat of arrest, constitutes an infringement of their rights under the First and Fourteenth
Amendments to the U.S. Constitution, and Art. 1, Section 8 of the Missouri Constitution.
“Any scheme that precludes plaintiffs from effectively communicating with those

delegates will not withstand constitutional scrutiny.” Service Ernployee, 114 F.Supp. at

972.

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The Supreme Court has recognized the value of protecting robust debate, and
holds political speech at the apex of its protection Political or controversial speech stands
at the “highest rung of the hierarchy of First Amendment values.” See Claz`borne
Hardware, 458 U.S. at 913; Connick, 461 U.S. at 145; Sullivan, 376 U.S. at 270. The
importance of political speech “has led us to scrutinize carefully any restrictions on
public issue picketing,” Boos, 485 U.S. at 318.

Thus the government has no power to restrict expression because of its message,
ideas, subject matter or content. Chicago Police Dept. v. Mosley, 408 U.S. 92 (1972).
“The vice to be guarded against is arbitrary action by officials.” Nz'emotko v. Marylana',
340 U.S. 268, 285 (1951) (Frankfurter, J., concurring). “At the heart of the First
Amendment lies the principle that each person should decide for him or herself the ideas
and beliefs deserving of expression, consideration and adherence Our political system
and cultural life rest upon this ideal. . . Government action that stifles speech on account
‘ of its message, or that requires the utterance of 'a particular message favored by
government contravenes this right.” Turner Broad. Sys., Inc. v. FCC, 114 S.Ct. 2445,
2458 (1994). The Court has thus applied “the most exacting scrutiny” to government
actions that “suppress, disadvantage, or impose differential burdens upon speech because
of its content.” Ia'. at 2459.

The Keiner plaintiffs have been threatened with arrest and eviction, and have in
fact been arrested and evicted from Keiner Plaza, while those expressing no political
views have been allowed to sleep in the park, remain after curfew, and to erect tents and
other structures

Even if Defendants’ treatment of demonstrators is content-neutral, government

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may still not restrict any speech activities in a manner that is more restrictive than
necessary to achieve a compelling government interest. Even if all citizens attending an
event are subject to a designated area, the govemrnent's measure must meet strict
scrutiny, and can not unduly chill the ability of the speaker to get out his message
Demonstrations, protest marches, and picketing are among those activities protected by
the First Amendment. Edwards v. South Carolz`na, 372 U.S. 229 (1963); Thornhz`ll v.
A[abama, 310 U.S. 88 (1940). Public streets and sidewalks are traditional public fora

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which “occupy a 'special position in terms of First Amendment protection,` in which

“the govemrnent's ability to restrict expressive activity is very limited.” Boos, 485 U.S. at
3 18.

While government has a legitimate interest in securing the safety and security of
their public parks, it must do so in a way that is narrowly tailored and limits speech no
more than necessary to achieve those goals. Government may not prohibit or quiet angry
or inflammatory speech in a public forum unless it is “directed to inciting or producing
imminent lawless action” and “likely to incite or produce such action.” Brana'enburg v.
th'o, 395 U.S. 444, 447 (1969) (per curium). Preventing speech that is distasteful or
likely to cause dispute or unrest is insufficient to meet the state's strict burden. lndeed, “a
function of free speech under our system of government is to invite dispute lt may
indeed serve its high purpose when it induces a condition of unrest, creates dissatisfaction
with conditions as they are, or even stirs people to anger.” Termz`nello v. Chz`cago, 337
U.S. l, 4 (1949). Even the govemrnent's interest in protecting the President, a much more
important interest than protecting public parks, must be countered by fundamental rights

to free speech:

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“But we cannot agree with the Government's argument that mere mention

of the President's safety must be allowed to trurnp any first Amendment

issue While courts must listen with the utmost respect to the conclusion of

those entrusted with responsibility for safeguarding the President, we must

also assure ourselves that those conclusions rest upon solid facts and a

realistic appraisal of the danger rather than vague fears extrapolated beyond

any foreseeable threat. . .”
Sparrow v. Gooa'man, 361 F.Supp. 566, 586 (W.D. NC 1973), affd sub nom Rowley v.
McMillian, 502 F.2a' 1326 (4"]. Cir. 1974), quoting Quaker Acl‘ion Group v. Hickel, 421
F.2d 1111, 1117-18 (D.C. Cir. 1969). ln Sparrow, the court issued an injunction
enjoining the government from treating certain protesters differently because of their
viewpoints or “peaceful expression of political (including dissenting) views, exercise of
constitutional rights of free speech, petition for redress of grievances or right of
association, without prior judicial authorization or without probable cause or for any

other cause not rationally necessary for the personal safety of the President.” Ia’. at 587-
88.

D. A Preliminal_'y In]'unction Will Serve the Public Interest.

A preliminary injunction is proper where it promotes the public interest.
Dataphase, supra This case has a wide impact on the First Amendment rights of the
citizens and taxpayers in the community to peacefully and freely exercise their right to
speak and air their views. The Supreme Court has long recognized the importance of a
“marketplace of ideas” flowing from the First Amendment right of free speech and has
consistently protected and encouraged “uninhibited, robust, and wide-open debate” on
public issues. Sullz`van, 376 at 270. By strictly enforcing the curfew and structures
ordinances and removing the plaintiffs from Keiner Plaza, Defendants violate the letter

and spirit of the First Amendment

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THE PRELIMINARY IN.]UNCTION SHOULD BE GRANTED WITHOUT BOND

Plaintiff in this case should not be required to post bond for injunctive relief to be
ordered The amount of bond, if any, required by Fed.R.Civ.P. 650, “rests within the
discretion of the trial court.” Rathmann Group v. Tanenbaum, 889 F.2d 787, 789 (8th Cir.
1989). “Since the amount of the security rests within the discretion of the district judge,
the matter of requiring a security in the first instance [also rests] within the discretion of
the district judge.” Scherr v. Volpe, 466 F.2a' 1027, 1035 (7”7 Cir. 1972). Where, as here,
it is unlikely that Defendants will incur any significant costs or damages as the result of
an injunction, no bond should be required. See Cohen v. Coahoma Counzj/, Miss., 805
F.Supp. 398, 408 (N.D. Miss. 1992); See also Martin v. Constance, No.
4:90CV00833GFG (E.D. Mo., May 23, 1990).

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